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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
THE DORIS BEHR 2012 IRREVOCABLE
TRUST,
Plaintiff, Civil Action No. 19-8828 (MAS) (LHG)
V. ORDER TO SHOW CAUSE
JOHNSON & JOHNSON,
Defendant.

 

 

This matter comes before the Court upon Defendant Johnson & Johnson’s (“Defendant”)
Motion to Dismiss (ECF No. 25) and Intervenors California Public Employees Retirement System
and Colorado Public Employees Retirement Association’s (collectively, “Intervenors”) Motion to
Dismiss (ECF No. 24). Plaintiff The Doris Behr 2012 Irrevocable Trust (“Plaintiff or “Trust”)
opposed Defendant’s Motion (ECF No. 39), and Defendant and Intervenors replied to Plaintiff's
Opposition (ECF Nos. 40, 42). Attorney General of New Jersey Gurbir S. Grewal appeared as
amicus curiae (“Amicus Curiae”) and filed a motion in support of Defendant’s Motion to Dismiss.
(ECF No. 45.)

Both motions to dismiss rely upon a recent decision of the Delaware Court of Chancery,
Sciabacucchi v. Salzberg, No. 2017-0931, 2018 WL 6719718 (Del. Ch. Dec. 19, 2018). Defendant
cites Sciabacucchi for the proposition that New Jersey courts would follow Delaware courts and
find “forum selection bylaws are invalid and illegal if they purport to govern external claims,
including claims under the federal securities laws.” (Def.’s Moving Br. 22, ECF No. 25-1.)
Intervenors argue that the Court of Chancery’s decision is “directly on point and provide[s] strong

justifications for interpreting N.J.[ Stat. Ann.] § 14A:2-9(4) as limiting the subject matter of
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corporate bylaws to matters of internal affairs.” (Intervenors’ Reply Br. 4-5, ECF No. 42.) Amicus
Curiae argues that Sciabacucchi “provides valuable guidance in interpreting the [New Jersey
Business Corporation Act]” because it “is a well-reasoned decision that interprets the nearly
identical provision of Delaware corporate law.” (Amicus Curiae Br. 10, ECF No. 35-4.) Plaintiff
argues Sciabacucchi is “readily distinguishable,” (Pl.’s Opp’n Br. 26, ECF No. 39), yet devotes
significant briefing to discussion of the decision and its role in this case, (see id. at 18-28).
The Court notes that the Court of Chancery’s decision has been appealed to the Delaware
Supreme Court. See Notice of Appeal, Salzberg v. Sciabacucchi, No. 346,2019 (Del. Aug. 5,
2019). The appeal has been fully briefed, and oral argument is scheduled for January 8, 2020. See
Notice of Oral Argument, Salzberg v. Sciabacuechi, No. 346,2019 (Del. Nov. 14, 2019). The Court
finds that at least one of the issues on appeal addresses the Court of Chancery’s December 19,
2018 decision cited by the movants and amicus curiae. See Appellant’s Br. 26-30, Salzberg v.
Sciabacucchi, No. 346.2019 (Del. Sept. 23, 2019). Accordingly,
IT IS on this 20th day in December 2019, ORDERED that:
1. By January 3, 2019, by e-filed submission no longer than five pages, each party must
show cause for why the Court should not stay this matter pending the Delaware
Supreme Court’s disposition of Salzberg v. Sciabucucci, No. 346.2019.

2. The Clerk shall administratively terminate Defendant’s Motion to Dismiss (ECF
No. 25) and Intervenors’ Motion to Dismiss (ECI No. 24) pending resolution of this

Order to Show Cause.

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3. Following review of the parties’ submissions, the Court will enter an appropriate order.

MICHAEL A. SHIPP
UNITED STATES DISTRICT JUDGE
